            Case 1:19-cr-00196-LGS Document 54 Filed 10/16/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 --------------------------------------------------------------X
                                                              :
 UNITED STATES OF AMERICA,                                    :
                                              Plaintiff,      :    16 Cr. 790 (LGS)
                                                              :
                            -against-                         :    19 Cr. 196 (LGS)
                                                              :
 DUJOHN WILLETTE,                                             :        ORDER
                                              Defendant, :
 ------------------------------------------------------------ X

LORNA G. SCHOFIELD, District Judge:

        It is hereby ORDERED that Defendant Dujohn Willette’s sentencing hearing currently

scheduled for October 20, 2020 is adjourned to November 18, 2020 at 11:00 a.m. due to a

conflict in the Court’s schedule.



Dated: October 16, 2020
       New York, New York
